CLERK'S OFFlCE U.S. D|ST COURT
AT ABINGDON. VA

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IN THE UNITED STATES DISTRICT COURT MAY 1 0 2007
FOR THE WESTERN DISTRICT OF VIRGINIA
ABINGDON DIVISION JQHN . C COR C ERK
BY: .
UNITED STATES OF AMERICA ) D U CLERK
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v. ) CaseNo. /07£&1?
)

THE PURDUE FREDERICK COMPANY, INC.)
PLEA AGREEMENT

THE PURDUE FREDERICK COMPANY, lNC. ("PURDUE") has entered into a Plea
Agreement with the United States of America, by counsel, pursuant to Rule ll(c)(l)(C) of the
Federal Rules of Criminal Procedure (“Fed. R. Crim. P.”). The terms and conditions of this
agreement are as follows:

l. CHARGE TO WHICH PURDUE IS PLEADING GUILTY AND WAIVER OF
RIGHTS

PURDUE Will enter a plea of guilty to Count One of an Inforrnation, charging it with the
felony of misbranding a drug, with the intent to defraud or mislead, in violation of Title 21 , United
States Code, Sections 33 l(a) and 333(a)(2). The maximum statutory penalty is a fine of
$500,000.00 or twice the gross gain or loss, pursuant to Title 18, United States Code, Sections
35 71 (c)(3) and 3571 (d), plus a period of probation of up to five years, pursuant to Title 18, United
States Code, Section 356](0)(1). In addition, PURDUE's assets may be subject to forfeiture
PURDUE understands that fees may be imposed to pay for probation and that there will be a $400
special assessment, pursuant to Title 18, United States Code, Section 3013(3)(2)(B). PURDUE's
attorney has informed it of the nature of the charge and the elements of the charge that must be
proved by the United States beyond a reasonable doubt before PURDUE could be found guilty as
charged

PURDUE hereby waives its right to be proceeded against by indictment and consents to the
filing of an Information charging it with a violation of Title 21, United States Code, Sections 33 l(a)
and 333(a)(2).

PURDUE acknowledges that PURDUE has had all of its rights explained to it. PURDUE
expressly'recognizes that, as a corporation, PURDUE may have the following constitutional rights
and, that by voluntarily pleading guilty, PURDUE knowingly waives and gives up these valuable
constitutional rights:

The right to plead not guilty and persist in that plea.

The right to a speedy and public jury trial.

The right to assistance of counsel at that trial and in any subsequent appeal.

The right to remain silent at trial.

The right to testify at trial.

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The right to confront and cross-examine witnesses

The right to present evidence and witnesses.

The right to compulsory process of the court.

The right to compel the attendance of witnesses at trial.

The right to be presumed innocent.

The right to a unanimous guilty verdict.

The right to appeal a guilty verdict.

PURDUE is pleading guilty as described above because PURDUE is in fact guilty and
because PURDUE believes it is in its best interest to do so and not because of any threats or
promises, other than the terms of the Plea Agreernent, described herein, in exchange for its plea of
guilty. PURDUE agrees that all of the matters set forth in the Information are true and correct.

PURDUE understands that the plea is being entered in accordance With Fed. R. Crim. P.

ll(c)(l)(C).
2. SENTENCING PROVISIONS

The parties agree and stipulate that the 2006 United States Sentencing Guidelines
(“U.S.S.G.”) Manual should be used and the following sentencing guidelines sections apply,
exclusively.

The Offense Level is computed as follows:

6 § 2Bl.l(a)(2) Base offense level (cross reference from §2N2.l(b)(l)).

+2 § 2Bl .l(b)(2)(A)(ii) The offense was committed through mass-marketing

;l-Q § 2Bl.l(b)(9)(C) The offense involved sophisticated means.

10 Total

12 § 2B1.l(b)(9) If the resulting offense level is less than level 12, increase to
level 12.

Total Offense Level is 12

The Culpability Score is computed as follows:

5 § 8C2.5(a) Start With 5 points.
+4 § 8C2.5(b)(2)(A)(ii) The organization had 1,000 or more employees.
- l § 8C2.5(g)(3) The organization accepted responsibility for its criminal
conduct

Total Culpability Score is 8.

The Base Fine for an Offense Level of 12 is $40,000.00 (§ 8C2.4(d)).

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The Minimum Multiplier for a Culpability Score 0f8 is 1.60 (§ 8C2.6).
The Maximum Multiplier for a Culpability Score of 8 is 3.20 (§ 8C2.6).

The ouideiine Fine Range is s64,000.00 to s128,000.00 ((1.60 x s40,000.00)
to (3.20 x $40,000.00)) (§ scz.?).

The United States asserts that an upward departure to a statutory maximum fine of
$500,000.00 is appropriate because, pursuant to § 5K2.0(a)(1)(A), there exists an aggravating
circumstance of a kind, or to a degree, not adequately taken into consideration by the Sentencing
Commission in formulating the guidelines PURDUE does not oppose the Court ordering the
statutory maximum fine of $500,000.00.

The parties agree and stipulate that determining the pecuniary gain or loss would unduly
complicate or prolong the sentencing process and, in accordance with U.S.S.G. § 8C2.4(c) and 18
U.S.C. § 357l(d), should not be used for the determination of the fine.

The parties agree that if the Court refuses to accept the Plea Agreement with the agreed-upon
sentence, this Plea Agreement will be null and void, and PURDUE will be free to withdraw this
guilty plea. In the event the Court refuses to accept the Plea Agreement with the agreed-upon
sentence and PURDUE withdraws this guilty plea, nothing in this Plea Agreement shall be deemed
a waiver of the provisions of Federal Rule of Evidence (“Fed. R. Evid.”) 410 and the United States
will move to dismiss the Information without prejudice to the United States’ right to indict PURDUE
or any other entity or individual on any charge.

The parties have not agreed to any matters concerning the length and terms of probation.
Accordingly, the Court may impose whatever length and terms of probation, if any, that it
determines is appropriate

3. FINANCIAL OBLIGATIONS

PURDUE agrees and understands that any of the money paid pursuant to this Plea
Agreement will be returned if, and only if, the Court refuses to accept the Plea Agreement with the
agreed-upon sentence and, as a result, PURDUE Withdraws its guilty plea.

For the remaining portions of this “FINANCIAL OBLIGATIONS” section, “PURDUE”
means “THE PURDUE FREDERICK COMPANY, INC. or Purduc Pharma L.P.”)

a. Immediate Payments

Prior to the entry of PURDUE's guilty plea, PURDUE will make the following
disbursements:

(l) $3,087,277.60 (three million eighty-seven thousand two hundred
seventy-seven dollars and sixty cents) to the Federal and State
Medicaid programs for improperly calculated Medicaid rebates for
the years 1998 and 1999;

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(2) $500,000.00 (five hundred thousand dollars) to the Clerk, U.S.
District Court, Abingdon, Virginia, as payment of the maximum
statutory fine;

(3) $20,000,000.00 (twenty million dollars) will be paid into an account
to be held in trust (“Trust Account”) solely for the operation of the
Virginia Prescription Monitoring Program (“PMP”) or its successors
The Trust Account funds should be prudently invested to ensure an
adequate return. Money may be drawn from the Trust Account solely
for the purpose of funding the PMP (including, but not limited to,
operating and maintaining the PMP and providing training and
educational programs concerning the use of the PMP.) The
maximum amount to be drawn from the account each year shall be
the lesser of (a) sufficient funds to fund Virginia’s Prescription
Monitoring Program or (b) the Yearly Expenditure Cap. The Yearly
Expenditure Cap will be $1,000,000.00 (one million dollars) for the
first year and will increase by 4% per year. If, prior to December 31,
2057, there is a calendar year during which Virginia does not have a
PMP or its rough equivalent, the remaining money in the Trust
Account shall be paid to the United States Treasury. The money in
the Trust Account may not be used for any purpose other than
funding the PMP, prior to December 31, 2057, As of December 31,
2057, if the PMP and its successors no longer exist, the money
remaining in the account may be used for any purpose, for the benefit
of the Commonwealth of Virginia;

(4) $5,300,000.00 (live million three hundred thousand dollars) to the
Virginia Medicaid Fraud Control Unit’s Program lncome Fund; and

(5) $151,100,000.00 (one hundred fifty-one million one hundred
thousand dollars) as directed by the United States Attorney’s Offtce
as partial payment of a total forfeiture of $276,100,000.00 (two
hundred seventy six million one hundred thousand dollars).

b. Civil Settlement Payments

PURDUE will pay a total of $160,000,000.00 (one hundred sixty million dollars) to the
United States and the States to settle civil governmental claims, as set forth below:

(l) PURDUE shall pay 3100,615,797.25 (one hundred million six
hundred fifteen thousand seven hundred ninety-seven dollars and
twenty-five cents) to the United States plus interest at the rate of
4.75% per annum ($13,093.84 per day) on 5100,615,797.25 from the

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date of the plea by The Purdue Frederick Company, lnc. and
continuing until and including the day before complete payment is
made pursuant to the Civil Settlement Agreement (attached as
Attachment D) between the United States and PURDUE; and
$59,384,202.75 (fifty~nine million three hundred eighty-four
thousand two hundred two dollars and seventy-five cents) to the
States as set forth in Section 3(b)(2) below. These payments shall
satisfy Purdue's obligation to make restitution under this Plea
Agreement;

(2) The $59,384,202.75 paid to the States shall be placed in a dedicated
interest bearing account. Each state that elects to participate in this
settlement shall, upon execution of the Forrn State Release (attached
as Attachment L) (or an alternative release agreed to by PURDUE
and the state), receive its proportionate share as determined by the
Medicaid Fraud Control Unit Negotiating Team, plus interest in
accordance with the Fonn State Release, in a timely manner in
accordance with the schedule as provided in the Form State Release.
Any money remaining in the dedicated interest bearing account after
PURDUE has fully paid all of its obligations shall be returned to
PURDUE; and

(3) The parties agree and stipulate, pursuant to 18 U.S.C. §
3663(a)(l)(B)(ii), that no other restitution should be ordered.

c. Subsequent Forfeiture Payments

On or before the six month anniversary of the entry of its guilty plea, PURDUE will deposit
$90,000,000.00 (ninety million dollars) as directed by the United States Attorney’s Office as
payment toward a total forfeiture of $276,1 00,000.00 (two hundred seventy six million one hundred
thousand dollars).

On or before the twelve month anniversary of the entry of its guilty plea, PURDUE will
deposit $35,000,000.00 (thirty-five million dollars) as directed by the United States Attorney’s
Office as final payment of a total forfeiture of $276,100,000.00 (two hundred seventy six million
one hundred thousand dollars).

d. Compensation and Settlement

Based on the agreement in principle reached between PURDUE and the United States on
October 25, 2006, PURDUE set aside a total of S130,000,000.00 (one hundred thirty million
dollars), some or all of which will have been paid by the date of the entry of the guilty plea, for
compensation and settlement of private civil liabilities related to OxyContin. Any of the
$l30,000,000.00 (one hundred thirty million dollars) remaining unpaid two years after the entry of

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PURDUE's guilty plea will be paid to the United States Treasury. Two years after the entry of
PURDUE's guilty plea or at the time the entire $130,000,000.00 has been appropriately expended
(if the moneys have been expended in less than two years), PURDUE's attorney shall provide to the
Court and the United States Attomey's Office an accounting of the moneys paid and will certify that
all payments have been made to resolve PURDUE‘s private civil liabilities related to OxyContin.

e. Forfeiture

To accomplish the forfeiture, which will be paid as set forth above, PURDUE agrees to the
filing of a civil forfeiture complaint, pursuant to 18 U.S.C. § 981(a)(l)(A), in the Western District
of Virginia and agrees to forfeit $276,100,000.00 in cash in settlement of the forfeiture complaint
(“settlement sum”). PURDUE agrees to sign, concurrent with the signing of this Plea Agreement,
a settlement agreement acknowledging that the settlement sum represents proceeds of a violation
of 18 U.S.C. § 1957 and/or are forfeitable in lieu of certain property that would be otherwise subject
to forfeiture pursuant to 19 U.S.C. § 1613(0). PURDUE agrees to forfeit all interest in these funds
and to take whatever steps are necessary to pass clear title of this sum to the United States. These
steps include but are not limited to making the sum available to the United States, as directed by the
United States. PURDUE agrees not to file a claim in any forfeiture proceeding or to contest, in any
manner, the forfeiture of said assets. PURDUE understands and agrees that forfeiture of this
property is proportionate to the degree and nature of the offense, and does not raise any of the
concerns raised in United States v. Austz`n, 1 13 S.Ct. 2801 (1993). To the extent that such concerns
are raised, PURDUE freely and knowingly waives any and all right it may have to raise a defense
of "excessive fines" under the Eighth Amendment to this forfeiture PURDUE further understands
and agrees that this forfeiture is separate and distinct from, and is not in the nature of, or in lieu of,
any monetary penalty that may be imposed by the court.

f. Monitoring Costs

FURDUE agrees to expend not less than $5,012,722.40(f1ve million twelve thousand seven
hundred twenty-two dollars and forty cents) in monitoring costs over the next seventy-two months
for the purpose of ensuring that Purduc Pharma L.P. complies with its Corporate Integrity
Agreement (“CIA”) with the Department ofHealth and Human Services Office of Inspector General
(“OIG”) and does not engage in any further criminal activity. On an annual basis, beginning on the
first anniversary of PURDUE's guilty plea, PURDUE’s attorney shall provide to the United States
Attomey's Office an accounting of the moneys paid and will certify that all payments set forth
therein have been paid as part of a monitoring program as set forth by the CIA between Purduc
Pharma L.P. and the OIG or otherwise to prevent future criminal activity by Purduc Pharma L.P.
Any of the $5,012,722.40 (five million twelve thousand seven hundred twenty-two dollars and forty
cents) remaining unspent seventy-two months after the entry of PURDUE's guilty plea will be paid
to the United States Treasury.

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g. Security

Prior to pleading guilty, Purdue agrees to provide a lien to the United States against sufficient
company assets to secure the $125,000,000.00 in deferred payments.

4. MANDATORY ASSESSMENT

PURDUE understands that there is a mandatory assessment of $400.00 per felony count of
conviction. PURDUE agrees that it will submit to the U.S. Clerk's Office, a certified check, money
order, or attorney's trust check, made payable to the "Clerk, U.S. District Court" in the amount of
$400.00 within seven days of entering its plea of guilty.

5. ADDITIONAL OBLIGATIONS

Unless the Court rejects this Plea Agreement and, as a result, PURDUE withdraws its plea,
PURDUE agrees to: (l) accept responsibility for its conduct; (2) fully comply with all terms of
probation, if probation is imposed; (3) not attempt to withdraw its guilty plea; (4) not deny that it
committed the crime to which it has pled guilty; and (5) not make or adopt any arguments or
objections to the presentence investigation report that are inconsistent with this Plea Agreement (if
a presentence report is ordered by the Court); and (6) comply with its obligations under the Civil
Settlement Agreement (attached as Attachment D).

PURDUE consents to public disclosure of all resolution documents related to this case.

Neither PURDUE nor any of its associated entities (as set forth in Attachment A), will,
through its present or future directors, officers, employees, agents, or attorneys, make any public
statements, including statements or positions in litigation in which any United States department or
agency is a party, contradicting any statement of fact set forth in the Agreed Statement of Facts
(attached as Attachment B). Should the United States Attomey's Office for the Western District of
Virginia notify PURDUE of a public statement by any such person that in whole or in part
contradicts a statement of fact contained in the Agreed Statement of Facts, PURDUE may avoid
noncompliance with its obligations under this Plea Agreement by publicly repudiating such
statement within two business days after such notification Notwithstanding the above, any
PURDUE entity may avail itself of any legal or factual arguments available to it in defending
litigation brought by a party other than the United States or in any investigation or proceeding
brought by a state entity or by the United States Congress. This paragraph is not intended to apply
to any statement made by any individual in the course of any actual or contemplated criminal,
regulatory, administrative or civil case initiated by any governmental or private party against such
individual

6. ADMISSIBILITY OF STATEMENTS

 

PURDUE understands that any statements made on its behalf (including, but not limited to,
this Plea Agreement and its admission ofguilt) during or in preparation for any guilty plea hearing,
sentencing hearing, or other hearing and any statements made, in any setting, may be used against

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it in this or any other related criminal proceeding PURDUE knowingly waives any right it may
have under the Constitution, any statute, rule or other source of law to have such statements, or
evidence derived from such statements, suppressed or excluded from being admitted into evidence
in this or any other related criminal proceeding With the exception of the situations set forth above,
PURDUE does not waive its right to argue against admissibility under any ground permitted under
federal or state rules of evidence in any other proceeding

lf the Court rejects the Plea Agreement, and, as a result, PURDUE withdraws its plea,
PURDUE will not be bound by the waivers set forth in this section of the Plea Agreement.

7. WAIVER QF RIGHT TQ APPEAL AND COLLATERALLY ATTACK THE

JUDGMENT AND SENTENCE IMPOSED BY THE COURT

If the Court accepts this P lea Agreement, PURDUE agrees that PURDUE will not appeal the
conviction or sentence imposed. PURDUE is knowingly and voluntarily waiving any right to appeal
and is voluntarily willing to rely on the Court in sentencing it, pursuant to the terms of Fed. R. Crim.
P. 1 l (c)(l)(C).

PURDUE agrees not to collaterally attack thejudgment and/or sentence imposed in this case
and waives its right, if any, to collaterally attack, pursuant to Title 28, United States Code, Section
2255, thejudgment and any part of the sentence imposed upon it by the Court. PURDUE agrees and
understands that if PURDUE, or anyone acting on PURDUE‘s behalf, files any court document
(including but not limited to a notice of appeal) seeking to disturb, in any way, the judgment and/or
sentence imposed in its case, the United States will be free to take Whatever actions it wishes based
on this failure of PURDUE to comply with its obligations under the Plea Agreement,

8. REMEDIES FOR FAILURE TO COMPLY WITH ANY PROVISION OF THE PLEA
AGREEMENT OR OVERALL RESOLUTION

 

PURDUE understands that if: (l) PURDUE attempts to withdraw its plea (in the absence
of the Court refusing to accept the Plea Agreement) or fails to comply with any provision of this
Plea Agreement, at any time; (2) any defendant in this case does not fulfill the defendant’s
obligations under the defendant’s plea agreement prior to the imposition of judgment; (3)
PURDUE’s conviction is set aside, for any reason; (4) any entity related to any defendant fails to
execute all required paperwork or fails to fulfill its obligations to effectuate the resolution of this
entire investigation prior to the imposition of judgment; and/or (5) PURDUE fails to comply with
its obligations under the Civil Settlement Agreement (attached as Attachment D) the United States
may, at its election, pursue any or all of the following remedies: (a) declare this Plea Agreement
void; (b) file, by indictment or information, any charges which were filed and/or could have been
filed concerning the matters involved in the instant investigation; (c) refuse to abide by any
stipulations and/or recommendations contained in this Plea Agreement; (d) not be bound by any
obligation of the United States set forth in this Plea Agreement, including, but not limited to, those
obligations set forth in the section of this Plea Agreement entitled “COMPLET[ON OF
PROSECUTION;” and (e) take any other action provided for under this Plea Agreement or by
statute, regulation or court rule.

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The remedies set forth above are cumulative and not mutually exclusive. lf the United States
pursues any of its permissible remedies as set forth in this Plea Agreement, PURDUE will still be
bound by its obligations under this Plea Agreement, PURDUE hereby waives its right under Fed.
R. Crim. P. 7 to be proceeded against by indictment and consents to the filing of an information
against it concerning any charges filed pursuant to this section of the Plea Agreement. PURDUE
hereby waives any statute of limitations argument as to any such charges

9. INFORMATION ACCESS WAIVER

PURDUE and any related entity knowingly and voluntarily agrees to waive all rights,
whether asserted directly or by a representative, to request or receive from any department or agency
of the United States any records pertaining to the investigation or prosecution of this case, including
without limitation any records that may be sought under the Freedom of Information Act, 5 U.S.C.
§ 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

10. DESTRUCTION OF ITEMS OBTAINED BY LAW ENFORCEMENT

By signing this Plea Agreement, PURDUE and any related entities hereby consent to the
destruction of all items obtained by law enforcement agents during the course of the investigation,
with the exception of the company’s original files. However, PURDUE expressly agrees that, within
30 days of being informed by the United States Attorney’s Office that records and/or other items
obtained from PURDUE or entities/individuals who were employed by PURDUE or
entities/individuals who were agents of PURDUE are available for removal, it will remove, at its
cost, all such records and/or other items from the premises designated by the United States
Attorney’s Office.

11. COMPLETION OF PROSECUTION

PURDUE understands that except as provided for in this Plea Agreement and the Non-
Prosecution Agreement (attached as Attachment C), so long as PURDUE complies with all of its
obligations under the Plea Agreement, and all entities set forth in the Non-Prosecution Agreement
comply with their obligations therein, there will be no further criminal prosecution or forfeiture
action by the United States for any violations of law, occurring before May 10, 2007, pertaining to
OxyContin that was the subject matter of the investigation by the United States Attorney’s Office
for the Western District of Virginia and the United States Department of Justice Office ofConsumer
Litigation that led to this agreement, against the following, or any property owned by any of the
following: PURDUE, its current and former directors, officers, employees, co-promoters, owners
(including trustees and trust beneficiaries of such owners), successors and assigns; any of
PURDUE'S related and associated entities (as listed on Attachment A); and such related and
associated entities' current and former directors, officers, employees, owners (including trustees and
trust beneficiaries of such owners), successors and assigns, and trusts for the benefit of the families
of the current and former directors of PURDUE, including the trustees and trust beneficiaries of such
trusts.

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Nothing in this Plea Agreement affects the administrative, civil, criminal, or other tax
liability of any entity or individual and this Plea Agreement does not bind the Intemal Revenue
Service of the Department of Treasury, the Tax Division of the United States Department of Justice,
or any other government agency with respect to the resolution of any tax issue.

PURDUE understands that nothing in this Plea Agreement precludes any private party from
pursuing any civil remedy against PURDUE, and PURDUE agrees that it will not raise this Plea
Agreement or its guilty plea as a defense to any such civil action.

12. LIMITATION OF AGREEMENT

This Plea Agreement is limited to the United States of America and does not bind any state
or local authorities

13. EFFECTIVE REPRESENTATION

PURDUE has discussed the terms of the foregoing Plea Agreement and all matters pertaining
to the charges against it with its attorney and is fully satisfied with its attorney and its attorney's
advice. At this time, PURDUE has no dissatisfaction or complaint with its attorney’s representation
PURDUE agrees to make known to the Court no later than at the time of sentencing any
dissatisfaction or complaint PURDUE may have with its attorney's representation

14. EFFECT OF PURDUE’S SIGNATURE

PURDUE understands that its Authorized Corporate Officer’s signature on this Plea
Agreement constitutes a binding offer by it to enter into this Plea Agreement. PURDUE understands
that the United States has not accepted PURDUE’s offer until the authorized representative of the
United States has signed the Plea Agreement.

15. GENERAL UNDERSTANDINGS

The parties jointly submit that this Plea Agreement and the Agreed Statement of Facts
provide sufficient information concerning PURDUE and the crimes charged in this case to enable
the meaningful exercise of sentencing authority by the Court under 18 U.S.C. § 3553. The parties
agree to request that the Court impose sentence at the date of the arraignment and plea pursuant to
the provisions of Fed. Rule Crim. P. 32(c)(l)(A)(ii) and U.S.S.G. § 6Al .1(a)(2), if the Court
determines that a presentence report is not necessary.

If the Court orders a presentence report, PURDUE understands that a thorough presentence
investigation will be conducted and sentencing recommendations independent of the United States
Attorney’s Office will be made by the presentence preparer.

PURDUE understands that the prosecution will be free to allocute or describe the nature of
this offense and the evidence in this case.

PURDUE understands that the United States retains the right, notwithstanding any provision
in this Plea Agreement, to inform the Probation Office and the Court of all relevant facts, to address

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the Court with respect to the nature and seriousness of the offense(s), to respond to any questions
raised by the Court, to correct any inaccuracies or inadequacies in the presentence report, if a report
is prepared, and to respond to any statements made to the Court by or on behalf of the defendant.

PURDUE willingly stipulates that there is a sufficient factual basis for the Court to accept
the lea.

p PURDUE understands that this Plea Agreement does not apply to any crimes or charges not
addressed in this Plea Agreement.

PURDUE has not been coerced, threatened, or promised anything other than the terms of this
Plea Agreement, described above, in exchange for its plea of guilty. PURDUE understands that its
attorney will be free to argue any mitigating factors on its behalf; to the extent they are not
inconsistent with the terms of this Plea Agreement. PURDUE understands that PURDUE Will have
an opportunity to have a representative address the Court prior to sentence being imposed.

This writing and the A greed Statement of Facts (attached as Attachment B), Non-Prosecution
Agreement (attached as Attachment C), Civii Settlement Agreement (attached as Attachment D),
Corporate Integrity Agreement (attached as Attachment E), Stipulation for Compromise Settlement
(attached as Attachment G), and Agreed Order of Forfeiture (attached as Attachment H) are the
complete and only agreements between the United States and PURDUE, Purdue Pharma L.P. and
its related and associated entities concerning resolution of this matter. Also attached to this
agreement are the Virginia Release (attached as Attachment L) and the Forrn State Release (attached
as Attachment M). ln addition, PURDUE has no objection to the filing of the lnformation
(Attachment F), Verified Complaint for Forfeiture In Rem (attached as Attachment l), and the Notice
of Compliance (attached as Attachment J) and the Court’s entry of a Warrant of Arrest ln Rem
(attached as Attachment K). The agreements and documents listed in this paragraph set forth the
entire understanding between the parties and constitutes the complete agreement between the United
States Attomey for the Western District of Virginia and PURDUE, Purduc Pharma L.P. and its
related and associated entities and no other additional terms or agreements shall be entered except
and unless those other terms or agreements are in writing and signed by the parties. These
agreements supersede all prior understandings, promises, agreements, or conditions, if any, between
the United States and PURDUE, Purduc Pharma L.P. and its related and associated entities.

PURDUE has consulted with its attorney and fully understands its rights with respect to the
offenses charged in the charging document(s). Further, PURDUE has consulted with its attorney
and fully understands its rights. PURDUE has read this Plea Agreement and carefully reviewed
every part of it with its attorney. PURDUE understands this Plea Agreement and PURDUE
voluntarily agrees to it. Being aware of all of the possible consequences of its plea, PURDUE has
independently decided to enter this plea of its own free will and is affirming that agreement on this
date by the signature of its Authorized Corporate Officer below.

The Authorized Corporate Officer, by her signature below, hereby certifies to the following:

(1) She has read the entire Plea Agreement and documents referenced herein and

discussed them with PURDUE’s owners;

(2) PURDUE understands all the terms of the Plea Agreement and those terms correctly

reflect the results of plea negotiations;

(3) PURDUE is fully satisfied with PURDUE’s attomeys’ representation during all

phases of this case;

Plea Agreement
Uni.'edSiaies v. T he Purdue Frederick Company, Inc. Page 1 l Of 12 Authorized COprmle Officer’s Initt'als.' wl

 

(4) PURDUE is freely and voluntarily pleading guilty in this case;.
(5) PURDUE is pleading guilty as set forth in this Plea Agreement because it is guilty
of the crimes to which it is entering its plea;'and
(6) PURDUE understands that it is waiving i-ts right to appeal the judgment and
conviction in this case. _ f t
PURDUE acknowledges its acceptance of th is Plea Agreement by the signature of its counsel
and Authorized Corporate Officer. A copy of a certification by PURDUE’s Board of Directors
authorizing the Authorized Corporate Officer to execute this Plea Agreement and all other

documents to resolve this matter on behalf of P RDUB is aia/shed
Date: (igl_/‘S/I[ 1007 lalil/& MA/l/l/l/J/

Rcbin E. Abrams, Esquire
Vice-President and Director of
The Purdue Fredericl< Company, lnc. and
Vice-President and Associate General Counsel
of Purduc Pharma L.P.`
Authorized Corporate Officer for
` The Purdue Frederick Company, Inc.

l have discussed with and fully explained to the _Board of Directors of PURDUE the facts
and circumstances of the case; all rights with respect to the offense charged in the Information;
possible defenses to the offense charged in the Information; all rights with respect to the Sentencing
Guidelines`; and all of the consequences of entering into this Plea Agreement and entering a guilty
plea. l have reviewed the entire Plea Agreement and documents referenced herein With my ciient,
through its Authorized Corporate Officer. ln my judgment, PURDUE understands the terms and

' conditions of the Plea Agreement, and I believe PURDUE's decision to enter into the Plea

Agreement is knowing and voluntary. PURDUE’s execution of and entry into the Plea Agreement
is done with my consent. ' `

Date: MRM <?, %¢ . M W
. l ' ' ~` Hoi)vard M. Shapiro, Esquire U
' Counsel for The Purduc Fredericlc Company, lnc.

J L. Brownlee
nited States Attorney
Western District of Virginia

Date: /’/Z/fz /4@@7' ` _ ' /Z g/@M¢#&-<,/

Rick A. Mountcastle, Assistant United States Attorney
Randy Ramseyer, Assistant United States Attorney .
Sharon Bumham, Assistant United States Attomey

Barbara T. Wells, Trial Attomey, U.S. Dept. OfJustice
Elizabeth Stein, Trial Attorney, U.S. Dept. OfJustice,

Plea Agreement

united swiss v. The Purduc Fredm¢k company ina P_age 12 of 12 Aurhorlzed Cerporare Ojjicer’s Inltials: M.

 

 

THE PURDUE FREDERICK COMPANY INC.

 

Vice President's Certif`lcate

 

The undersigncd, Robin E. Abrams, the Vice President of'l`he Purduc Frederick
Company Inc., a New York corporation (the "Corporation"), DOES HEREBY CERTIFY that
attached hereto as Schedule 1 is a true, correct and complete copy of the resolutions approved
by the Written Consent of the Sole Director of the Corporation dated May 4, 2007 authorizing
the Corporation to execute and deliver on behalf of the Corporation that certain Plea Agreement
between the United States of America and the Corporation, together with other documents
listed therein with respect to settling that certain investigation by the United States Attomey's
Office for the Western District of Virginia, which resolutions have not been amended or
rescinded as of the date hereof.

IN WITNESS WHEREOF, the undersigned has executed this Ceitilicate this

Eis€itiwa,

Robin E. Abrams
Vice President

May Ll' ,2007.

 

 

 

estimates

RESOLVED, that the Agreed Statement of Facts between the United States of
America and the Corporation (the "Agreed Statement of Facts") in the form presented to the
Director of the Corporation be and the same hereby is approved; and further

RESOLVED, that the Settlement Agreement among the United States of America,
acting through the Civil Division of the Department of Justice and the United States Attorney’s
Office for the Western District of Virginia, the Office of the lnspector General of the United
States Department ofHealth and Human Services, the United States Office of Personnel
Management, the United States Department of Defense TRICARE Management Activity, the
United States Department of Labor Office of Workers' Compensation Programs, the
Corporation and Purduc Pharma L.P., a Delaware limited partnership (the "Civil Settlement
Agreement"), in the form presented to the Director of the Corporation be and the same hereby is
approved; and further

RESOLVED, that the Plea Agreement between the United States of America and the
Corporation (the "Plea Agreement") in the form presented to the Director of the Corporation be
and the same hereby is approved; and further

RESOLVED, that the Stipulation for Compromise Settlement between the United
States of America and the Corporation (the "Stipulation for Compromise Settlement") in the
form presented to the Director of the Corporation be and the same hereby is approved; and
further

RESOLVED, that the Agreed Order of Forfeiture between the United States of
America and the Corporation (the "Agreed Order of Forfeiture"; the Agreed Statement of
Facts, the Civil Settlement Agreement, the Plea Agreement, the Stipulation for Compromise
Settlement, and the Agreed Order of Forfeiture are hereinafter collectively referred to as the
"Settlement Documents"), in the form presented to the Director of the Corporation be and the
same hereby is approved; and further

RESOLVED, that Robin E. Abrams as the Vice President of the Corporation, be
and she hereby is authorized and directed to execute and deliver in the name and on behalf of
the Corporation the Settlement Documents, each in the form or substantially in the form
presented to the Director of the Corporation, with such changes, additions and modifications
thereto as she shall approve, such approval to be conclusively evidenced by her execution and
delivery thereof; and further

RESOLVED, that Robin E. Abrams as the Vice President of the Corporation, be
and she hereby is authorized and directed to make, execute and deliver, or cause to be made,
executed and delivered, all such agreements, documents, instruments and other papers, and to
do or cause to be done on behalf of the Corporation all such acts, as she may deem necessary
or appropriate to carry out the purposes and intent of the foregoing resolutions, including, but
not limited to, appearing on behalf of the Corporation in the United States District Court for
the Western district of Virginia, Abingdon Division, in order to make any statement or
statements on behalf of the Corporation she deems appropriate in connection with the
judgment to be pronounced against the Corporation in accordance with the Settlement
Documents.

 

